                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE

BRAD AMOS,                                    )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )
                                              )        Case No. 3:21-cv-00923
                                              )        Judge Richardson
THE LAMPO GROUP, LLC,                         )        Jury Demand
                                              )
                                              )
       Defendant.                             )


     MOTION TO STRIKE ANSWER AND AFFIRMATIVE DEFENSES AND DEEM
                          FACTS ADMITTED


       Comes now the Plaintiff and pursuant to Rule 8 and Rule 12 of the Federal Rules of Civil

Procedure and moves this court to strike the answer filed by Defendant on June 13, 2025 (Doc

192) and order that the facts set out in Plaintiff’s Amended Complaint be deemed admitted. In

the alternative, Defendant’s Affirmative Defenses should be stricken and the facts relating to

Plaintiff’s non-conforming religious discrimination claim be admitted.

       Plaintiffs request the trial in this matter should be limited to damages of the Plaintiff as

Defendant has waived any argument as to liability on one of both counts remaining in this

matter. Plaintiff would further rely on the accompanying Memorandum of Law filed

contemporaneously.

                                              Respectfully submitted:

                                              s/ Jonathan A. Street
                                              Jonathan Street (TN Bar No. 021712)
                                              Brandon Hall (TN Bar No. 034027)
                                              Zachary Brown (TN Bar No. 037509)




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